                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

 WANDA WILLIAMS,                                  )
                                                  )
                                                  )
                   Plaintiff,                     )     Case No. 1:18CV00021
                                                  )
 v.                                               )             OPINION
                                                  )
 UNITED STATES OF AMERICA,                        )     By: James P. Jones
                                                  )     United States District Judge
                                                  )
                   Defendant.                     )

      Joseph E. Wolfe, Wolfe Williams & Reynolds, Norton, Virginia, for Plaintiff;
 Sara Bugbee Winn, Assistant United States Attorney, Roanoke, Virginia, for
 Defendant.

       The plaintiff in this civil action, Wanda Williams, alleges that the Postal

 Service (“USPS”) was negligent in causing injury to her when she visited a post

 office on a weekend night and slipped on snow and ice on a ramp leading to the

 building’s open lobby. Williams seeks to hold the United States liable for money

 damages pursuant to the Federal Tort Claims Act (“FTCA”). The United States

 has moved to dismiss her action for lack of subject-matter jurisdiction, contending

 that the alleged negligent conduct at issue falls within the discretionary function

 exception to the FTCA. For the reasons that follow, I conclude that the court lacks

 subject-matter jurisdiction, and therefore I will grant the motion.




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                                          I.

       The following facts are undisputed for the purposes of the present motion.

       The public has twenty-four-hour access to the post office boxes in the lobby

 of the post office located in Clincho, Virginia. At approximately 9:00 p.m. on

 Saturday, March 7, 2015, Williams went to that post office. Early in the morning

 of that day, a post office employee had treated the entrance ramp with ice melt, but

 the retail window had closed at 11:15 a.m. As Williams was walking up the ramp

 to enter the building, she slipped and fell. Williams landed on her back and left hip

 and heard a pop and felt pain in her lower back and left leg. The following day,

 Williams returned to the post office and left a note advising the postmaster that she

 had fallen and was going to seek medical treatment for her injuries.

       On February 27, 2017, Williams filed a claim for her injury pursuant to the

 FTCA. The USPS denied the claim on November 2, 2017. Williams then filed the

 present action pursuant to the FTCA, alleging that the United States was negligent

 in failing to properly maintain the walkways and guttering at its Clinchco post

 office. Williams asserts that this negligence allowed snow and ice to build up on

 the post office premises, which was the proximate cause of her fall. Williams

 alleges that as a result of this negligence, she suffered physical and emotional

 injury. The United States has filed a Motion to Dismiss pursuant to Federal Rule

 of Civil Procedure 12(b)(1), asserting that this court lacks subject-matter


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 jurisdiction because the conduct at issue falls within the discretionary function

 exception to the United States’ waiver of sovereign immunity under the FTCA.

 The Motion to Dismiss has been fully briefed and is now ripe for decision.1

                                           II.

       Federal courts have limited jurisdiction and are empowered to act only in the

 specific instances authorized by Congress. Bowman v. White, 388 F.2d 756, 760

 (4th Cir. 1968). The court must determine questions of subject-matter jurisdiction

 before it can address the merits of a case. Steel Co. v. Citizens for a Better Env’t,

 523 U.S. 83, 94–95 (1998). The plaintiff bears the burden of proving the existence

 of subject-matter jurisdiction. Evans v. B.F. Perkins Co., 166 F. 3d 642, 647 (4th

 Cir. 1999). “In determining whether jurisdiction exists, the district court is to

 regard the pleadings’ allegations as mere evidence on the issue, and may consider

 evidence outside the pleadings without converting the proceeding to one for

 summary judgment.” Richmond, Fredericksburg & Potomac R.R. v. United States,

 945 F.2d 765, 768 (4th Cir. 1991). A court should grant a motion to dismiss for

 lack of subject-matter jurisdiction “if the material jurisdictional facts are not in

 dispute and the moving party is entitled to prevail as a matter of law.” Id.




       1
           I will dispense with oral argument because the facts and legal contentions are
 adequately presented in the materials before the court and argument would not
 significantly aid the decisional process.
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       Federal courts do not have jurisdiction over actions against the United States

 unless Congress has expressly waived the United States’ sovereign immunity.

 United States v. Sherwood, 312 U.S. 584, 586–87 (1941). A waiver of sovereign

 immunity “will be strictly construed, in terms of its scope, in favor of the

 sovereign.” Lane v. Pena, 518 U.S. 187, 192 (1996).

       The FTCA waives the United States’ sovereign immunity and makes the

 government liable for tort claims “in the same manner and to the same extent as a

 private individual under like circumstances.” 28 U.S.C. § 2674. However, this

 waiver does not apply to claims “based upon the exercise or performance or the

 failure to exercise or perform a discretionary function or duty on the part of a

 federal agency or an employee of the Government, whether or not the discretion

 involved be abused.” 28 U.S.C. § 2680(a). The plaintiff bears the burden of

 proving that the discretionary function exception does not apply to the function or

 duty at issue. Indem. Ins. Co. of N. Am. v. United States, 569 F.3d 175, 180 (4th

 Cir. 2009). If the exception does apply, a court must dismiss the claim for lack of

 subject-matter jurisdiction. Id.

       To determine if the discretionary function exception applies, the court must

 perform a two-step analysis. Wood v. United States, 845 F.3d 123, 128 (4th Cir.

 2017). First, the court must decide whether the challenged conduct “involves an

 element of judgment or choice.” Suter v. United States, 441 F.3d 306, 310 (4th


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 Cir. 2006).2 Conduct does not involve an element of judgment or choice if a

 federal statute, regulation, or policy specifically prescribes it. See Berkovitz v.

 United States, 486 U.S. 531, 536 (1988).         Second, the court must determine

 whether the conduct is “based on considerations of public policy.” Suter, 441 F.3d

 at 311 (quoting Berkovitz, 486 U.S at 537). To make this determination, the court

 is to “look to the nature of the challenged decision in an objective, or general

 sense, and ask whether that decision is one which we would expect inherently to be

 grounded in considerations of policy.” Baum v. United States, 986 F.2d 716, 721

 (4th Cir. 1993). “[W]hen a statute, regulation, or agency guideline permits a

 government agent to exercise discretion, it must be presumed that the agent’s acts

 are grounded in policy when exercising that discretion.” Suter, 441 F.3d at 311.

 The plaintiff bears the burden of proving that the government’s conduct is not

 grounded in considerations of public policy. Indem. Ins. Co. of N. Am., 569 F.3d at

 181.

        Williams argues that the government is liable for the Clinchco postmaster’s

 decisions not to close the public lobby and not to have staff continue to apply salt

 to the ramp on the evening that she visited the post office. Williams argues that the

 postmaster was obligated to undertake this conduct, and thus it does not fall within

 the discretionary function exception to the FTCA. In response, the United States

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           I have omitted internal quotation marks and citations throughout this opinion,
 unless otherwise noted.
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 contends that the postmaster’s decisions to allow public access to the post office

 lobby after hours and to staff employees to remove snow and ice on the walkways

 only during high-traffic times fall squarely within the discretionary function

 exception.

       In support of its argument, the government relies on a number of cases with

 facts similar to those here. In those cases, the courts held that a postmaster’s

 decisions regarding public access to the post office after hours and removing snow

 and ice after hours fall within the discretionary function exception to the FTCA.

 Hogan v. U.S. Postmaster Gen., 492 F. App’x 33, 35–36 (11th Cir. 2012)

 (unpublished) (affirming the district court’s holding that the postmaster’s decision

 to keep the post office open around the clock fell within the discretionary function

 exception); Stephenson v. United States, Civil Action No. 1:16-11979, 2017 WL

 5760451, at *5 (S.D.W. Va. Nov. 28, 2017) (holding that the postmaster’s

 decisions regarding snow removal on holidays or during low-traffic hours fell

 within the discretionary function exception); Krey v. Brennan, No. DKC 15-3800,

 2017 WL 2797491, at *5 (D. Md. June 28, 2017) (holding that the postmaster’s

 decision to keep the post office lobby open around the clock fell within the

 discretionary function exception), aff’d sub nom Krey v. United States, No. 17-

 1886, 2018 WL 3954227 (4th Cir. Aug. 17, 2018) (unpublished).




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       In line with these cases, I find that the Clinchco postmaster’s decisions

 regarding public access to post office boxes after hours and snow and ice removal

 during these hours fall within the discretionary function exception to the FTCA.

 First, both decisions involve elements of judgment. Rather than prescribing a

 particular course of conduct, the Postal Operations Manual explicitly grants the

 postmaster discretion to allow twenty-four-hour access to post office boxes. U.S.

 Postal Service, Postal Operations Manual, POM Issue 9 § 126.43, at 30 (2002),

 https://www.nalc.org/workplace-issues/resources/manuals/pom/POM-July-

 2016.pdf (“At the postmaster’s discretion, lobbies may remain open 24 hours a day

 to allow customers access to PO Boxes and self-service equipment, provided that

 customer safety and security provisions are deemed adequate by the Inspection

 Service.”).   Likewise, the Supervisor’s Safety Handbook does not prescribe

 particular methods of snow and ice removal after hours. Instead, it leaves room for

 judgment when it instructs, “You must establish snow and ice removal plans where

 necessary. . . . [and] [p]rovide for reinspection and cleaning as often as necessary

 to handle drifting snow and refreezing.” U.S. Postal Service, Handbook EL-801,

 Supervisor’s Safety Handbook § 8-15.2, at 68 (2008), https://www.nalc.org/

 workplace-issues/resources/manuals/other/EL-801-June-2008-Supervisors-Safety-

 Handbook-with-revisions-through-May-1-2014.pdf (emphasis added). The Floors,

 Care and Maintenance Handbook reiterates this room for judgment when it


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 instructs, “Apply [ice-melting products] more than once a day, if necessary, in

 areas of extremely low temperatures and/or high winds.” U.S. Postal Service,

 Maintenance Handbook MS-10, Floors, Care and Maintenance § 542, at 5-1

 (1988), http://www.apwu.org/sites/apwu/files/resource-files/MS-10%20Floors%2

 0Care%20%26%20Maintenance%205-88%20%282.09%20MB%29.pdf (emphasis

 added).   Although Williams argues that the postmaster was obligated to take

 various steps to remove snow and ice on the evening she visited the post office, she

 does not set forth any evidence that regulations or policies prescribed these steps.

       Second, I find that both decisions, evaluated objectively, are based on

 considerations of public policy. Congress directs the USPS to “provide prompt,

 reliable, and efficient services to patrons in all areas.” 39 U.S.C. § 101(a). The

 Clinchco postmaster’s decisions regarding public access to post office boxes after

 hours and snow and ice removal during these hours require an evaluation of this

 direction, along with the “convenience to the public, safety of federal property for

 visitors, budgetary concerns regarding paying snow-removal staff, and paying

 employees to staff the Post Office . . . during hours which would otherwise

 experience minimal postal-patron traffic.” Stephenson, 2017 WL 5760451, at *5.

 Accordingly, the Clinchco postmaster’s decisions satisfy both steps of the

 discretionary function analysis, and thus they fall within the discretionary function

 exception to the FTCA.


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       Williams also argues that the government is liable for the postmaster’s

 decisions regarding maintenance of the post office guttering, which she alleges was

 falling down and causing water to leak onto the post office entrance ramp.

 Williams argues that the postmaster was obligated to prevent the guttering from

 falling into disrepair, and thus the conduct does not fall within the discretionary

 function exception.

       The Fourth Circuit has held in a number of contexts that the government’s

 decisions regarding facility maintenance fall within the discretionary function

 exception. See Wood, 845 F.3d at 131–32 (holding that the Navy’s maintenance

 decisions regarding facilities used by civilian law enforcement fell within the

 exception); Baum, 986 F.2d at 724 (holding that the Park Service’s maintenance

 decisions regarding the guardrail system on the Baltimore-Washington Parkway

 fell within the exception).

       I also find that the postmaster’s decisions regarding maintenance of the post

 office guttering fall within the discretionary function exception.        The USPS

 guidelines regarding when and how to maintain postal facilities leave room for

 judgment and choice.          The USPS’s Repair and Alteration of Real Property

 Facilities Handbook states that while “[p]ostal facilities generally follow local area

 practices to be compatible with industrial facilities[,] [m]anagers are encouraged to

 use their judgment and deviate from any criteria that are not in the best interest of


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 the Postal Service.” U.S. Postal Service, Handbook RE-13, Repair and Alteration

 of Real Property Facilities § 312, at 322.3 (1987), http://www.apwu.org/

 sites/apwu/files/resource-files/RE-13%20Repair%20%26%20Alteration%20of%20

 Real%20Property%20Facilities%2010-87%20%281.08%20MB%29.pdf.                     The

 Postmaster’s Facilities Maintenance Guidelines instruct the postmaster to inspect

 the facility twice a year, and they identify damaged gutters and downspouts as

 common maintenance problems that a postmaster might encounter. U.S. Postal

 Service, Maintenance Handbook MS-110, Associate Office Postmaster’s Facilities

 Maintenance Guidelines § 312, at 3-1, § 323.4, at 3-3 (1988), https://www.apwu

 .org/sites/apwu/files/resource-files/MS-110%20Associate%20Office%20Maintena

 nce %20Guidelines%201-88%20%281.06%20MB%29.pdf. These guidelines then

 instruct the postmaster to “develop[] a list of those items that you feel need to be

 addressed” and to “prioritize[] these items in the order to be accomplished.” Id. at

 § 331, at 3-4 (emphasis added). These guidelines thus leave decisions about the

 need for and prioritization of gutter repair to the discretion and judgment of the

 postmaster.

       I find that such decisions, evaluated objectively, are also based on

 considerations of public policy.      Because the guidelines above permit the

 postmaster to exercise discretion in making decisions regarding facility

 maintenance, it is presumed that the postmaster’s decisions exercising this


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 discretion are grounded in policy. See Suter, 441 F.3d at 311. Further, the Repair

 and Alteration of Real Property Facilities Handbook instructs postmasters to

 consider the best interests of the Postal Service when exercising their discretion.

 The interests of the Postal Service certainly include such policy concerns as the

 best allocation of resources and the safety of the property for visitors.

 Accordingly, the Clinchco postmaster’s decisions regarding maintenance of the

 post office guttering satisfy both steps of the discretionary function analysis, and

 thus they fall within the discretionary function exception to the FTCA.

       While I regret that the plaintiff will have no judicial review of her claim of

 injury, because I find that the conduct she challenges falls within the discretionary

 function exception to the FTCA, I must dismiss her case for lack of subject-matter

 jurisdiction. A separate Order will be entered forthwith.

                                                DATED: October 18, 2018

                                                /s/ James P. Jones
                                                United States District Judge




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